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16   Bioscience, Inc. and Myriad Genetics, Inc.
17
                                    UNITED STATES DISTRICT COURT
18
                                  NORTHERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA; STATE                    CASE NO. 3:16-cv-02043-TSH
21   OF CALIFORNIA; ex rel. STF, LLC, an
     organization,                                      [PROPOSED] ORDER
22
                    Plaintiffs,
23
             v.
24
      CRESCENDO BIOSCIENCE, INC., a
25    Delaware Corporation, and MYRIAD
      GENETICS, INC., a Delaware Corporation,
26
                    Defendants.
27

28   [PROPOSED] ORDER; Case No. 3:16-cv-02043-TSH
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 1          Defendants’ Motion for Entry of Order is GRANTED. The Federal Bureau of Investigation
 2   (“FBI”) is authorized to produce in discovery in this action records that may be subject to the Privacy
 3   Act, 5 U.S.C. § 552a, without obtaining a written request by, or prior written consent of, the
 4   individuals to whom such records or information pertain. This order constitutes a limited
 5   authorization to the FBI and its agents and employees to disclose records that may be protected by the
 6   Privacy Act pursuant to 5 U.S.C. § 552a (b)(11). This order does not affect the FBI’s or the United
 7   States’s ability to object to producing, or to withhold, in whole or in part, such records on any other
 8   grounds.
 9          Pursuant to the Court’s July 15, 2020 Stipulated Protective Order (Dkt. No. 75), the FBI may
10   designate as Protected Material information or items produced in discovery in this action.
11
            IT IS SO ORDERED.
12
             May 24, 2021
     Dated: ___________________________
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                                                   THOMAS S. HIXSON
16                                                 United States Magistrate Judge
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28   [PROPOSED] ORDER; Case No. 3:16-cv-02043-TSH
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